                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                     2021-NCCOA-691

                                         No. COA21-158

                                  Filed 21 December 2021

     Mecklenburg County, No. 15 CVD 11749

     ANGEL MENDEZ, Plaintiff,

                 v.

     LINDA MENDEZ, Defendant.


           Appeal by defendant from order entered 2 September 2020 by Judge Christine

     T. Mann in Mecklenburg County District Court. Heard in the Court of Appeals 17

     November 2021.


           The Metz Law Firm, PLLC, by Keith B. Metz, for plaintiff-appellee.

           Clark-Ford Law PLLC, by Melissa Clark-Ford, for defendant-appellant.


           TYSON, Judge.


¶1         Defendant, Linda Mendez (“Defendant”), appeals from order modifying child

     support entered 2 September 2020. We affirm.

                                    I.     Background

¶2         Plaintiff, Angel Mendez (“Plaintiff”), and Defendant were married in December

     2007 and divorced in August 2013. The parties are parents of three children and

     share custody. Plaintiff paid $2,271.00 in child support each month per order filed

     29 December 2015. Defendant’s Motion to Modify Child Support was filed December
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     2018.

¶3           Defendant is employed full-time with a monthly gross income of $3,964.00 and

     provides medical insurance for the minor children. Defendant sought to modify the

     child support order based upon the changing needs of the children and their

     enrollment in new activities, namely, music lessons, fencing, and acting classes.

     Defendant asserted Plaintiff had additional sources of income and requested an

     award of attorney’s fees in the amount of $7,300.00.

¶4           As part of the initial child support claim, Plaintiff filed an Amended Child

     Support Financial Affidavit (“Affidavit”) on 13 November 2015. He affirmed, his

     income from Custom Gun Rails (“CGR”) was $12,049.00 per month, which included

     the deposits from the United States Department of Defense (“DoD”).

¶5           Plaintiff had three sources of income simultaneously: contract work as an

     instructor through DoD, his private business, CGR, and his VA Disability.

¶6           Plaintiff’s employment with the DoD required him to wear body armor, stand

     for 12+ hours a day, perform physical activities, and to use firearms. Plaintiff earned

     a gross annual income of $189,755.00 in 2016, $181,307.93 in 2017, and $204,512.55

     in 2018.

¶7           Plaintiff’s second source of income was from his business, CGR.           CGR

     fabricated custom engraved gun rails. Plaintiff was the only employee. Plaintiff no

     longer receives any income through CGR. He had sold the machinery to make the
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       engraved gun rails in the summer of 2019. Plaintiff testified he had contributed

       personal funds to cover CGR’s operating expenses.

¶8           Plaintiff’s third source of income derived from is his VA disability. In January

       2019, Plaintiff was diagnosed with prostate cancer. Plaintiff’s VA disability rating

       increased from 10 percent to 60 percent, resulting in an increased monthly payment

       of $1,515.00.

¶9           Plaintiff provided medical records to show his cancer treatment, chronic sinus

       disease, and his bladder deformity. Plaintiff testified he could no longer physically

       continue to do the work required of him in the contractor position with the DoD

       without significant pain from his ailments. Plaintiff testified he planned to begin

       attending classes at Columbia University School of Law full-time in January 2020,

       with the ultimate goal of becoming an attorney, and would no longer continue to work

       as a government contractor for the DoD.

¶ 10         Plaintiff applied for admission to Columbia University School of Law and was

       accepted on 1 October 2018. Plaintiff decided to postpone his pursuit of a degree from

       Columbia to focus on his cancer treatment and recovery and intended to begin classes

       thereafter. Plaintiff testified he intended to pay for school by using an extension of

       his GI Bill and would continue to be eligible for payment of tuition costs and a Basic

       Housing Allowance.

¶ 11         Plaintiff filed a petition with the United States Bankruptcy Court for the
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       Northern District of Texas on 4 October 2017. The 2017 Bankruptcy petition reflected

       gross receipts before deductions, as they received in 2017.       Plaintiff’s Affidavit

       provides for monthly gross income after deductions in 2015.

¶ 12          The trial court concluded Plaintiff’s child support payment be reduced to

       $1,272.00 per month in a modification of child support order signed 2 September

       2020. The order required the parties pay equally for the children’s uninsured medical

       expenses. Finally, the court found Defendant had failed to prove Plaintiff was not

       making adequate payments under the circumstances and denied Defendant’s motion

       for attorney’s fees.

                                       II.      Jurisdiction

¶ 13          This appeal is properly before this Court pursuant to N.C. Gen. Stat. § 7A-

       27(b)(2) (2019).

                                             III.    Issues

¶ 14          Defendant raises three issues on appeal, whether the trial court erred in

       refusing to: (1) impute income to Plaintiff from his DoD position; (2) consider as

       extraordinary expenses the costs of the children’s activities; and, (3) award Defendant

       attorney’s fees.

                                       IV.          Argument

                                A.   Imputing Plaintiff’s Income

                                                1. Bad Faith
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¶ 15         For modification of child support orders, “our review is limited to a

       determination [of] whether the trial court abused its discretion.” Johnston Cnty. ex

       rel. Bugge v. Bugge, 218 N.C. App. 438, 440, 722 S.E.2d 512, 514 (2012) (citation

       omitted). “Under this standard of review, the trial court’s ruling will be overturned

       only upon a showing that it was so arbitrary that it could not have been the result of

       a reasoned decision.” Id (citation omitted).

¶ 16         Defendant argues Plaintiff had hidden income in bad faith. When a party acts

       in a matter which indicates a disregard to a child support obligation, this disregard

       to the child support obligation is referred to as bad faith. Whether or not a party is

       acting in bad faith, “the basic issue to be determined is whether, the husband, by

       reducing his income, [is] primarily motivated by a desire to avoid his reasonable

       support obligations[.]” Wachacha v. Wachacha, 38 N.C. App. 504, 508, 248 S.E.2d 375,

       377-78 (1978) (internal citations and quotation marks omitted).

¶ 17         In Wachacha, the father left his job as a director of recreation to return to

       college to complete his undergraduate degree by using his GI Bill. Id. The father

       failed two classes and withdrew. After withdrawing from school, the father took a

       position with a construction company, earning less money than as the director of

       recreation. Id. This Court concluded, “[w]e do not think the evidence summarized

       above is sufficient to support the court’s conclusion that the plaintiff-[father’s] change

       of circumstances has voluntarily effected (sic) him in disregard of his marital and
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       parental support obligations.” Id. at 508, 248 S.E.2d at 378.

¶ 18         Evidence of a voluntary reduction of income alone is not sufficient to support a

       finding and conclusion of acting in bad faith. The party who has voluntarily reduced

       their income must be motivated by the desire to avoid his or her child support

       obligations. Pataky v. Pataky, 160 N.C. App. 289, 308, 585 S.E.2d 404, 416 (2003).

       “[T]his Court has suggested that where a defendant forgoes all employment [to]

       become a full-time student there may not be bad faith provided he continues to

       adequately provide for his children.” Id. at 307, 585 S.E.2d at 416 (citation and

       internal quotation marks omitted). Unemployment or under employment does not

       mean a party is acting in bad faith. Id.
¶ 19         Like the facts in Pataky, Plaintiff was not unemployed by choice, and he

       continued to work until the start of Spring 2020. Plaintiff intended to leave his job

       at the DoD and pursue a legal career. Plaintiff testified his position as an instructor

       for the DoD required 12-hour and extensive physical strains, which took a toll on

       Plaintiff’s body over the course of time, causing certain physical limitations. Plaintiff

       testified in addition to his prostate cancer diagnosis, he was also diagnosed with

       degenerative disc disease along his entire spine, and joint diseases in both feet, both

       ankles, both knees, both hips, and one rib. He presented evidence of chronic sinus

       disease.

¶ 20         Plaintiff’s testimony concerning his physical impairments was supported by
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       and further detailed in Plaintiff’s medical records, which were admitted at trial.

       Plaintiff testified, “my entire spine and my, both of my legs there’s just constant pain

       and tingling and more. So jobs that have to do or that negatively impact that, I can’t

       do.”

¶ 21          The trial court found, although Plaintiff was receiving a 60% service disability,

       this fact did not prohibit Plaintiff from working, but he cannot continue to do the kind

       of work he was doing as a DoD government contractor. The trial court stated:

                    can he leap a tall building in a single bound and scale walls
                    and shoot guns and roll out of tanks and all that, probably
                    not . . . He was a combat . . . instructor, top secret in the
                    military, and that is not like being a lawyer or an
                    accountant . . . it makes it different.

¶ 22          Defendant argues that Plaintiff’s decision to stop working with the DoD is

       evidence of bad faith. She claims Plaintiff can continue working in his government

       contractor position because he was working one month before the start of this trial.

¶ 23          Plaintiff presented evidence tending to show, despite the significant pain he

       experienced from his disabilities and cancer treatment, he had continued to work

       until right before the start of his classes at Columbia University and was still willing

       to provide support for his children. Such actions tend to show Plaintiff’s good faith

       in continuing to provide support. The trial court clearly articulated its findings and

       conclusions that Plaintiff could not physically continue his DoD employment and was

       justified in seeking a legal or new career. Defendant’s argument that Plaintiff had
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       assumed a reduced income in bad faith is without merit and is overruled.

                                        2. Shielding Income

¶ 24         The standard of review on appeal is whether adequate evidence supports the

       trial court’s findings of fact and whether the conclusions of law are supported, given

       the facts presented. Juhnn v. Juhnn, 242 N.C. App. 58, 61-62, 775 S.E.2d 310, 313
       (2015). “An abuse of discretion occurs when the trial court’s decision is manifestly

       unsupported by reason or one so arbitrary that it could not have been the result of a

       reasoned decision.” Id. at 62, 775 S.E.2d at 313 (citation and internal quotation marks

       omitted).

¶ 25         This case is distinguishable from the facts in Juhnn, wherein this Court

       affirmed the trial court’s ruling finding the defendant attempted to hide income by

       engaging in a pattern of concealing and underreporting income.

¶ 26         Here, Defendant presented various invoices from 2019, which reflected

       Plaintiff earned a rate of $710.00 per day for his contract work. Plaintiff contested

       the invoices as misleading and not accurately reflecting Plaintiff’s true income.

       Plaintiff asserts this gross income which includes reimbursements for lodging,

       transportation, and meals while stationed overseas.

¶ 27         The trial court concluded the income Plaintiff was earning in December 2019

       was similar to what Plaintiff had earned since 2015. The trial court considered all

       three of Plaintiff’s jobs and the invoice submitted by Defendant and found:
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                    It’s about a 70/30 split . . . his daily rate . . . $710 per day
                    rate in 2019. And he said, ‘I work about two weeks per
                    month.’ I just did the math on that, which makes it $3,550
                    per week, comes to 26 weeks $92,300, which is remarkably
                    in line with what he’s been making over the last four years,
                    if you do the 70/30 thing. Well, not remarkably in line, but
                    somewhat in line. I think he didn’t work as much maybe
                    because he had all of these medical things.

¶ 28         Plaintiff testified that between 2011, when he started his company, CGR

       through 2015, his work as a contractor for the DoD was paid directly to CGR. This

       explains the large sums of income moving in and out of the CGR account prior to

       2016, which Defendant claims is proof of Plaintiff’s bad faith. The remaining monies

       being moved in the CGR account is explained by Plaintiff as business expenses such

       as ride sharing costs, medical expenses, or tax expenses to the county.

¶ 29         Defendant argues the bankruptcy documents filed in 2017 by Plaintiff reflect

       a different income than what was provided on Plaintiff’s Affidavit filed in 2015. A

       copy of the bankruptcy petition was identified as an exhibit but never admitted into

       evidence during trial.

¶ 30         Plaintiff argues the 2017 bankruptcy petition referred to during his testimony

       reflected gross receipts before deductions, as they were in 2017 and compares it to

       Plaintiff’s Affidavit which provides for monthly gross income after deductions in 2015.

       The trial court also had previously made specific findings of Plaintiff’s income in 2015

       as part of an initial child support order. The Affidavit did not account for Plaintiff’s
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       entire yearly earnings in 2015, whereas his 2015 tax returns did.

¶ 31          In consideration of all the evidence presented, and Defendant’s extensive

       cross-examination of Plaintiff regarding his finances, the trial court did not find any

       bad faith by Plaintiff in the reduction of his income, or that he was hiding his income.

       Defendant’s argument is without merit and is overruled.

                     B. Children’s Activities as Extraordinary Expenses

¶ 32         Defendant argues the North Carolina Child Support Guidelines provide

       extraordinary expenses may be added to the child support obligation, if the court finds

       they are reasonable, necessary, and in the child’s best interest. “The trial court is

       vested with discretion to make adjustments to the guideline amounts for

       extraordinary expenses, and the determination of what constitutes such an expense

       is likewise within its sound discretion.” Doan v. Doan, 156 N.C. App. 570, 574, 577

       S.E.2d 146, 149 (2003) (citation omitted). “[A]bsent a party’s request for deviation,

       the trial court is not required to set forth findings of fact related to the child’s needs

       and the non-custodial parent’s ability to pay extraordinary expenses.” Balawejder v.

       Balawejder, 216 N.C. App. 301, 316–17, 721 S.E.2d 679, 688 (2011) (citation omitted).

¶ 33         After briefly hearing some of Defendant’s evidence regarding the minor

       children’s extracurricular activities, the court determined the costs for these

       activities were not extraordinary expenses under the Guidelines and stated it would

       hear no further evidence regarding the costs of their activities.        The trial court
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       possesses discretion to determine what expense does and does not constitute an

       extraordinary expense. Doan, 156 N.C. App. at 574, 577 S.E.2d at 149.

¶ 34         No evidence presented tended to show any of the children possessed any special

       needs or significant talent which would require such activities. The trial court chose

       not to hear evidence of the children’s activities, within its discretion.

¶ 35         The determination of the costs of activities was not relevant and did not

       constitute extraordinary expenses. No abuse its discretion is shown, when the court

       was under no requirement to consider extraordinary expenses or evidence.

       Defendant never moved to deviate from the Guidelines.              As the reasoning in

       Balawejder points out, the trial court is not required to consider extraordinary

       expenses, but it can consider in its discretion without such a request. The trial court

       had no duty to consider the extraordinary expenses.           Defendant’s argument is

       overruled.

                                         C. Attorney’s Fees

                    [T]he court may in its discretion order payment of
                    reasonable attorney’s fees to an interested party acting in
                    good faith who has insufficient means to defray the expense
                    of the suit. Before ordering payment of a fee in a support
                    action, the court must find as a fact that the party ordered
                    to furnish support has refused to provide support which is
                    adequate under the circumstances existing at the time of
                    the institution of the action or proceeding.

       Hudson v. Hudson, 299 N.C. 465, 469, 263 S.E.2d 719, 722 (1980) (citation omitted).
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¶ 36         Defendant learned that Plaintiff had been diagnosed with cancer in early 2019.

       Defendant knew of Plaintiff’s application and intent to attend law school. Defendant

       could reasonably presume any further prosecution of the Motion to Modify by seeking

       an increase in child support would not be decided in her favor, but it could also result

       in a reduction of child support. Defendant elected to prosecute the matter instead of

       dismissing it.

¶ 37         Defendant admitted she had paid her attorney fees in full.            Defendant’s

       payments to her attorney for her fees incurred is evidence that she has sufficient

       funds to defray the expenses. Defendant admits, “After gross, my net is only $2,800

       to $2,900, and over half of that has gone to pay my attorney fees.” This indicates that

       Defendant has funds left over after paying her household expenses.

¶ 38         Finally, Defendant’s motion to modify was solely for child support. Defendant

       must also prove that Plaintiff failed to pay support that was adequate under the

       circumstances. No evidence was presented tending to show Plaintiff had failed to pay

       the ordered child support, was not currently paying, or did not intend to pay his child

       support obligation.

¶ 39         The trial court considered Defendant’s claims. The trial court made a finding

       that Plaintiff had been paying his child support obligation, specifically, “the facts are

       he was 10 percent disabled and didn’t have cancer, and was operating and he was

       doing[,] he was working and paying a nice chunk of child support.”
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¶ 40         Defendant did not meet her burden in proving she was entitled to an attorney’s

       fee award. Defendant has not shown the refusal to award her attorney’s fees was an

       abuse of discretion. Defendant’s argument is overruled.

                                        V.     Conclusion

¶ 41         The trial court did not err in refusing to impute Plaintiff’s prior income, find

       he acted in bad faith, or had hidden income. The trial court’s discretionary decision

       to exclude expenses for the children’s activities was proper because Defendant did not

       move to deviate from the Guidelines.

¶ 42         The trial court properly denied an award of attorney fees to Defendant.

       Defendant failed to meet the required showing to be awarded attorney fees. The

       findings and conclusions of the trial court are affirmed. It is so ordered.

             AFFIRMED.

             Judges DIETZ and GRIFFIN concur.
